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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF MARYLAND
                                   NORTHERN DIVISION

 In the Matter of the Petition

                           Of                       Case No. 24-cv-941-JKB

 GRACE OCEAN PRIVATE LIMITED,                       IN ADMIRALTY
 as Owner of the M/V DALI,

                          And

 SYNERGY MARINE PTE LTD, as
 Manager of the M/V DALI,

 for Exoneration from or Limitation of
 Liability


         THE STATE OF MARYLAND’S MOTION FOR A LETTER OF REQUEST

        NOW INTO COURT, through undersigned counsel, comes the State of Maryland, by and

through Anthony G. Brown, Attorney General of Maryland, on its own behalf and on behalf of all

its agencies (the “State”); the Maryland Transportation Authority (“MDTA”), the Maryland Port

Administration (“MPA”), and the Maryland Department of the Environment (“MDE”)

(collectively, “Claimants”), who respectfully request this Court issue the attached Letter of

Request to allow the State to obtain relevant discovery from ZeroNorth A/S (“ZeroNorth”).

        ZeroNorth is a Danish company based at Amagerfælledvej 106, 2300 Copenhagen S,

Denmark. In 2024, ZeroNorth acquired the company Alpha Ori Technologies (“Alpha Ori”) and

Alpha Ori’s software product, SMARTShip. The M/V DALI had SMARTShip installed onboard.

The owners and managers of the M/V DALI utilized SMARTShip to remotely monitor the vessel.

The communications of the owners and managers of the M/V DALI with Alpha Ori and ZeroNorth


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will be critical in establishing how SMARTShip was utilized onboard the M/V DALI and what

information shoreside personnel chose to monitor.

        The Hague Convention of 18 March 1970 on the Taking of Evidence Abroad in Civil or

Commercial Matters, as adopted and implemented at 28 U.S.C. § 1781, authorizes this Court to

request assistance from Danish judicial authorities in obtaining evidence from ZeroNorth.

        Therefore, the State respectfully requests that the Court sign and issue the Letter of Request

attached as Exhibit A in order to facilitate the collection of evidence from ZeroNorth. A certified

Danish translation of the Letter of Request is included.



                                               Respectfully submitted,


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                                                 *Admitted pro hac vice



                                         CERTIFICATE OF SERVICE

        I CERTIFY that on this 18th day of February 2025, the foregoing was filed in the United
States District Court for the District of Maryland via the Court’s CM/ECF filing system, which
will provide notice of this failing to all counsel of record.

                                                 /s/ Margaret Fonshell Ward
                                                 Margaret Fonshell Ward




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